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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA 2029 SEP 2h PH 3:42
TAMPA DIVISION

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TAMPA, FLORIDA

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Plaintiff

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Defendant
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